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                               UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
                                  WESTERN DIVISION
      CALIFORNIA GROCERS                  Case No. 2:21-cv-01011-FLA-AGR
      ASSOCIATION, a California non-
      profit organization,                MEMORANDUM OF POINTS AND
                                          AUTHORITIES IN SUPPORT OF
                  Plaintiff,              MOTION TO INTERVENE
            v.                            DATE: APRIL 2, 2021
      THE CITY OF MONTEBELLO, a           TIME: 1:30 p.m.
      general law municipality,           CTRM: 350 W. 1st Street, Courtroom 6B
                  Defendant.
                                          Assigned for all purposes to the Hon.
                                          Fernando L. Aenlle-Rocha
      UNITED FOOD AND
      COMMERCIAL WORKERS,                 Action filed: February 3, 2021
      LOCAL 770, an unincorporated
      association,
                  Proposed Intervenor.




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                                                I.
                                     INTRODUCTION
           United Food and Commercial Workers Local 770 ("Local 770" or "the
     Union"), a labor union that represents grocery and drug store and other retail
     workers in Montebello and Los Angeles County, brings this motion for leave to
     intervene in this action. The City and Plaintiff California Grocers Association do
     not oppose Local 770's intervention. Local 770 files this brief to provide to explain
     why the Court should grant intervention.
           The City of Montebello's Premium Pay for Grocery and Drug Store Workers
     Ordinance ("Ordinance") requires that large grocery and drug stores pay frontline
     workers an hourly premium to compensate them for special risk they face during
     the pandemic and to encourage their retention. Local 770 was a principal advocate
     for passage of the Ordinance and represents many grocery and drug store
     employees within the City of Montebello who are benefited by it.
           CGA has sued the City, alleging that the Ordinance is preempted by federal
     labor law and violates the Equal Protection and Contract Clauses of the U.S. and
     California Constitutions. More particularly, CGA claims that Local 770 has
     improperly used the political process to obtain benefits for the employees it
     represents that it could not obtain through collective bargaining.1
           Local 770 seeks leave to intervene in this lawsuit to defend its interest as a
     principal proponent of the Ordinance and its members' interests in the Ordinance's
     increased pay for hazardous work. Courts regularly grant intervention to unions


           1
              In its Complaint CGA alleges that another Southern California United
     Food & Commercial Workers local union, Local 324, campaigned for passage of
     the Montebello ordinance. This is most likely only a drafting error, as these
     allegations appear to be borrowed from CGA's companion action against the City
     of Long Beach. Local 324, which represents grocery workers in the City of Long
     Beach, supported the adoption of the City of Long Beach's Ordinance, but had no
     role in advocating for passage of a similar ordinance by the City of Montebello.
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     seeking to defend protective legislation that benefits their members and for which
     they lobbied. See, e.g., Californians for Safe & Competitive Dump Truck
     Transportation v. Mendonca, 152 F.3d 1184, 1189-90 (9th Cir. 1998); American
     Hotel & Lodging Ass'n v. City of Los Angeles, No. CV 14-09603-AB (SSX), 2015
     WL 12745805, at *1 (C.D. Cal. Mar. 25, 2015).
           Local 770 has a right to intervene in this matter. This motion is timely—
     filed weeks after CGA filed its complaint. Local 770 has a significant protectable
     interest in the Ordinance, both as its proponent and as a union whose members
     benefit from it. Those interests would be impaired by an injunction preventing the
     City from enforcing the Ordinance and by the possible stare decisis effect of a
     declaration that the Ordinance is unconstitutional on Local 770 members' private
     actions to enforce the measure. Finally, the City may not adequately represent
     Local 770's interests in the Ordinance because Local 770's interests are narrower
     and more focused than those of the public at large.
           Additionally, Local 770 can contribute to the Court's understanding of this
     case through knowledge of the grocery and drug retail industry and experience in
     the constitutional and federal preemption issues that CGA raises.
                                              II
                                    STATEMENT OF FACTS
           Local 770 is a labor union that represents grocery and drug store workers in
     Southern California, including many who work at grocery and drug stores in the
     City and are covered by the Ordinance. Local 770 was a principal supporter of the
     Ordinance.
           The Ordinance provides grocery and drug store workers an additional four
     dollars per hour of work. Ordinance, §5.10.060. It exempts stores with fewer than
     300 employees nationwide or an average of fifteen or fewer employees per store in
     the City. Id. at § 5.10.050.
     //
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           The Ordinance is intended to "compensate[] grocery or drug store workers
     for the risks of working during a pandemic[,]" noting such workers face
     "magnified risks of catching or spreading the COVID-19 disease because the
     nature of their work involves close contact with the public[.]" Id. at § 5.10.010.
     The Ordinance is also designed to "ensure[] the retention of these essential workers
     who are on the frontlines of this pandemic providing essential services and who are
     needed throughout the duration of the COVID-19 emergency." Id.
           The City passed the Ordinance as an emergency measure, and it expires after
     180 days unless the City extends it. Id. at § 5.10.060(C). In order to ensure that the
     Ordinance is not rendered a nullity, the Ordinance prohibits grocery and drug
     stores from reducing workers' pay or earning capacity in response to the
     Ordinance. Id. at § 5.10.070. It also provides workers a private right of action to
     enforce the Ordinance. Id. at 5.10.130.
                                               III
                                         ARGUMENT
     A.    LOCAL 770 HAS THE RIGHT TO INTERVENE IN THIS ACTION
           The Ninth Circuit interprets Rule 24(a) liberally in favor of intervention.
     California ex rel. Lockyer v. United States, 450 F.3d 436, 440 (9th Cir. 2006);
     Donnelly v. Glickman, 159 F.3d 405, 409 (9th Cir. 1998). All well-pleaded,
     nonconclusory allegations in the motion to intervene and accompanying pleadings
     are accepted as true "absent sham, frivolity or other objections." Southwest Center
     for Biological Diversity v. Berg, 268 F.3d 810, 820 (9th Cir. 2001). Courts apply a
     four-part test to determine whether intervention is appropriate:
           (1) the motion must be timely; (2) the applicant must claim a
           "significantly protectable" interest relating to the property or
           transaction which is the subject of the action; (3) the applicant must be
           so situated that the disposition of the action may as a practical matter
           impair or impede its ability to protect that interest; and (4) the
           applicant's interest must be inadequately represented by the parties to
           the action.
     //
                                               3
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     Sierra Club v. EPA, 995 F.2d 1478, 1481 (9th Cir. 1993). Local 770 meets all four
     requirements. 2
           1.     This motion is timely
           This motion was filed weeks after the complaint, so it is timely. See, e.g.,
     Citizens for Balanced Use v. Montana Wilderness Ass'n, 647 F.3d 893, 897 (9th
     Cir. 2011) (intervention motion filed less than three months after complaint
     timely); Idaho Farm Bureau Fed'n v. Babbitt, 58 F.3d 1392, 1397 (9th Cir. 1995)
     (intervention motion filed four months after complaint timely). The City has not
     yet filed a responsive pleading, and this motion is brought within the window for
     such a pleading. See Fed. R. Civ. P. 12(a)(1)(A)(i).
           2.     Local 770 has significant protectable interests in the Ordinance
           Local 770 has two separate interests in the Ordinance each sufficient to
     support intervention of right. First, it supported the passage of the Ordinance.
     Second, Local 770's members are direct beneficiaries of the Ordinance's premium
     pay requirement.
                  a.     Local 770 has a significantly protectable interest as a
                         supporter of the Ordinance
           "[A] public interest group [is] entitled as a matter of right to intervene in an
     action challenging the legality of a measure which it supported." Sagebrush
     Rebellion v. Watt, 713 F.2d 525, 526-27 (9th Cir. 1983) (citing Washington State
     Bldg. & Constr. Trades Council v. Spellman, 684 F.2d 627 (9th Cir. 1982)); see
     also Idaho Farm Bureau, 58 F.3d at 1397 ("[a] public interest group is entitled as a
     matter of right to intervene in an action challenging the legality of a measure it has
     supported."). Local 770 was a primary supporter of the Ordinance's passage and is
     entitled as a matter of right to defend the law.



           2
             Intervenors do not need to demonstrate Article III standing. See Vivid
     Entertainment, LLC v. Fielding, 774 F.3d 566, 573 (9th Cir. 2014).
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                                                MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO INTERVENE
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           The Complaint puts the United Food and Commercial Workers' support for
     the Ordinance at issue, which is another reason that intervention of right is
     warranted. The Complaint alleges that the stated purposes of the Ordinance are
     "merely an attempt to impose a public policy rationale on interest-group driven
     legislation for labor unions and, in particular, for [Local 770]." 3 Doc. 1, ¶35; Doc.
     1, ¶16 (describing the Union and its parent union's campaign to secure hazard pay
     for grocery and drug store workers). This action thus seeks to punish Local 770 for
     engaging in constitutionally protected petitioning activity to pass legislation
     beneficial to the grocery and drug store workers it represents and to discredit that
     legislation based on Local 770's advocacy. Local 770 is entitled to intervene to
     protect its right to engage in the legislative process.
                  b.     Local 770 has a significant protectable interest in the
                         benefits the Ordinance provides to its members
           Unions have a protectable interest where their members' interests are
     implicated. See, e.g., United States v. City of Los Angeles, 288 F.3d 391, 398-99
     (9th Cir. 2002) (finding police officers' union had a protectable interest because the
     complaint sought injunctive relief affecting the union's members); American Hotel
     & Lodging Ass'n, 2015 WL 12745805 at *3-4 (finding unions had a protectable
     interest because members received benefits from minimum-wage ordinance);
     Golden Gate Restaurant Ass'n v. City & County of San Francisco, No. C 06-06997
     JSW, 2007 WL 1052820, at *2 (N.D. Cal. April 5, 2007) (finding unions had a
     protectable interest in defending against challenge to local health-care ordinance
     from which unions' members received benefits). For instance, the Ninth Circuit
     held a union had a protectable interest in defending California's prevailing wage
     law against a claim that it was preempted because the union's members had an

           3
             As noted in footnote 1, the Complaint misnames the Union as "Local 324."
     The parties have agreed to permit Local 770's intervention in this action without
     the need for a formal amendment of the Complaint to correct that misnomer.
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      interest in "receiving the prevailing wage for their services as opposed to a
      substandard wage." Mendonca, 152 F.3d at 1189-90. Similarly, Local 770's
      members have an interest in receiving fair and equitable compensation for the
      considerable risks they face while providing an essential service during the
      COVID-19 pandemic.
            Either Local 770's interest as a proponent of the measure or its members'
      interest in receiving the Ordinance's benefits is sufficient to satisfy this prong of
      the Rule 24(a) test for intervention as of right.
            3.     Enjoining the Ordinance or declaring it unconstitutional would
                   impair Local 770's ability to protect its interests
            A party is entitled to intervene when "their interests would as a practical
      matter be impaired or impeded by the disposition of [the] action." Berg, 268 F.3d
      at 822 (emphasis added); see also Fed. R. Civ. P. 24 advisory committee's note to
      1966 amendment (stating party is entitled to intervene if a determination in an
      action would affect them "in a practical sense").
            The injunction sought by CGA would impair Local 770's members' interest
      in the Ordinance's hazard pay. See Mendonca, 152 F.3d at 1190; American Hotel &
      Lodging Ass'n, 2015 WL 12745805 at *4; Golden Gate Restaurant Ass'n, 2007 WL
      1052820 at *3. It would prevent the City from enforcing the Ordinance on Local
      770's members' behalf, requiring Local 770 or individual members to bear the cost
      of enforcing the Ordinance via the Ordinance's private right of action. Cf. Hope
      Clinic v. Ryan, 249 F.3d 603, 605 (7th Cir. 2001) (holding private right of action
      cannot be enjoined in case with only public defendants); see also Doe v. Pryor,
      344 F.3d 1282 (11th Cir. 2003) (same); Okpalobi v. Foster, 244 F.3d 405 (5th Cir.
      2001) (en banc) (same).
            State court enforcement through the Ordinance's private right of action could
      also be hindered through the stare decisis effect of a declaration that the Ordinance
      is unconstitutional. That is yet another ground for allowing intervention. See
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      Greene v. United States, 996 F.2d 973, 977 (9th Cir. 1993) (citing United States v.
      Oregon, 839 F.2d 635, 638 (9th Cir. 1988)) ("Intervention may be required when
      considerations of stare decisis indicate that an applicant's interest will be
      practically impaired."); cf. City of Los Angeles, 288 F.3d at 397-98 ("By allowing
      parties with a practical interest in the outcome of a particular case to intervene, we
      often prevent or simplify future litigation involving related issues; at the same
      time, we allow an additional interested party to express its views before the
      court.").
             4.    The City may not adequately represent Local 770's interests
             Intervention is appropriate if the proposed intervenors make the "minimal"
      showing that their interests "may be" inadequately represented by the existing
      parties. Trbovich v. United Mine Workers, 404 U.S. 528, 538 n.10 (1972) (granting
      intervention to union members aligned with Secretary of Labor's position in the
      case because Secretary had duties not only to union members but to the public
      generally); Sagebrush Rebellion, 713 F.2d at 528; Southwest Ctr. for Biological
      Diversity, 268 F.3d at 823; see also 6 James Wm. Moore, et al., Moore's Federal
      Practice § 24.03[4][a] (3d ed. 1999) ("[T]he applicant should be treated as the best
      judge of whether the existing parties adequately represent his or her interests, and
      . . . any doubt regarding adequacy of representation should be resolved in favor of
      the proposed intervenors.").
             This minimal burden is satisfied when the applicant (or its members) have
      interests that are "more narrow and parochial than the interests of the public at
      large." Mendonca, 152 F.3d at 1190; see also Sierra Club v. Espy, 18 F.3d 1202,
      1207-08 (5th Cir. 1994) (finding government representation of interests inadequate
      because "[t]he government must represent the broad public interest, not just the
      economic concerns of the timber industry").
             Local 770 has a more narrow and parochial interest than the City because
      CGA's labor-law preemption argument focuses on the Ordinance's alleged effects
                                                 7
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      on Local 770's collective bargaining agreements and negotiations. See Doc. 1, ¶ 26
      ("The Ordinance establishes premium pay standards that, by design or
      consequence, empower the UFCW . . . to secure a wage rate they could not have
      otherwise obtained[.]") In American Hotel and Lodging Association, the court
      found a union had a "distinct interest" in defending against a plaintiff's arguments
      that a local minimum wage ordinance was preempted because it distorted the
      collective bargaining process. 2015 WL 12745805 at *5. The same is true here.
      Although the City has a general interest in defending the Ordinance, it does not
      have the same interest in responding to CGA's attempt to use Local 770's role as
      collective bargaining representative as a weapon against Local 770's members.
            Additionally, Local 770 has a more narrow interest than the City because it
      solely represents the Ordinance's grocery and drug worker beneficiaries, whereas
      the City represents the interests of the public at large, including "businesses and
      employers who may claim to be harmed by the passage of the Ordinance." Golden
      Gate Restaurant Ass'n, 2007 WL 1052820, at *4.
            Local 770 and its counsel can also augment the City's defense—and the
      Court's understanding—of this case. Local 770 has significant knowledge of the
      grocery and drug retail industry in general and the City's grocery and drug industry
      in particular. See, e.g., Sagebrush Rebellion, Inc., 713 F.2d at 528 (holding
      inadequacy shown in part by applicant "having expertise apart from that of the
      Secretary"). Local 770's counsel has extensive experience litigating cases
      challenging laws, such as the Ordinance in this case, that establish minimum labor
      standards as either unconstitutional or preempted by federal labor law, including
      cases of direct relevance to CGA's claims here.4This experience will aid the City in
      defense of the Ordinance and aid the Court in sorting through CGA's claims.

            4
              See, e.g., California Grocers Ass’n v. City of Los Angeles, 52 Cal.4th 177
      (2011) (challenge to City of Los Angeles’ Grocery Worker Retention Ordinance on
      federal labor law preemption grounds).
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            In light of Local 770 and its members' narrower interests in the Ordinance
      than the public at large its interests will not be adequately represented unless it is
      permitted to intervene.
     B.     LOCAL 770 ALSO QUALIFIES FOR PERMISSIVE
            INTERVENTION.
            If there is any doubt that Local 770 qualifies for intervention of right, the
      Court should allow permissive intervention. A court considers three factors in
      determining whether to allow permissive intervention: (1) the existence of
      independent grounds for jurisdiction; (2) timeliness; and (3) whether the applicant's
      claim or defense and the main action share common questions of law or fact.
      Northwest Forest Resources Council v. Glickman, 82 F.3d 825, 839 (9th Cir.
      1996). Rule 24(b)(3) also requires the Court to consider whether "the intervention
      will unduly delay or prejudice the adjudication of the original parties' rights." Fed.
      R. Civ. P. 24(b)(3).
            Local 770 meets these requirements. Independent grounds for jurisdiction
      are not required where the district court's jurisdiction is grounded in a federal
      question and the proposed intervenor does not seek to bring new state-law claims.
      See Freedom from Religion Foundation, Inc. v. Geithner, 644 F.3d 836, 843 (9th
      Cir. 2011). Local 770 brings no new claims. Its application for intervention is
      timely, coming before the City has filed an answer or motion to dismiss.
      Intervention will not unduly delay or prejudice the original parties' rights.
            Finally, Local 770's defenses share common questions of law and fact with
      the City's defense of the ordinance. Permissive intervention should be granted if
      mandatory intervention is not. See Employee Staffing Services v. Aubry, 20 F.3d
      1038, 1042 (9th Cir. 1994) (affirming permissive intervention of labor group to
      defend measure it supported).
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                                      CONCLUSION
            For the foregoing reasons, the Court should grant Local 770's motion to
      intervene.


      Dated: March 4, 2021                 Respectfully Submitted,

                                           SCHWARTZ, STEINSAPIR,
                                           DOHRMANN & SOMMERS, LLP
                                           MARGO A. FEINBERG
                                           HENRY M. WILLIS
                                           KIRILL PENTESHIN


                                           By: /s/ Henry M. Willis
                                                         HENRY M. WILLIS
                                            Attorneys for Proposed Intervenor United
                                            Food and Commercial Workers, Local 770




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